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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

INTER-COASTAL WATERWAYS LLC,
CIVIL ACTION NO. 0:24-cv-60891-AHS

Plaintiff,
V.

TRADESTATION SECURITIES, INC. and
DOE DEFENDANTS 1-10,

Defendants, Ap p en dix L

and

THE FINANCIAL INDUSTRY
REGULATORY AUTHORITY,

Nominal Defendant.

DECLARATION OF GEORGIOS PALIKARAS IN SUPPORT OF PLAINTIFF INTER-
COASTAL WATERWAYS LLC’S OPPOSITION TO DEFENDANT TRADESTATION
SECURITIES, INC.’"S MOTION TO COMPEL ARBITRATION AND
CROSS-MOTION FOR THE DISQUALIFICATION OF
THE FINANCIAL INDUSTRY REGULATORY AUTHORITY AS MANDATORY
ALTERNATIVE DISPUTE RESOLUTION SERVICE TO THIS ACTION

I, Georgios Palikaras, being duly sworn, deposes and says under the penalty of perjury,
pursuant to 28 U.S.C. § 1746, that the following is true and eee

1. I was the President and Chief Executive Officer of Metamaterial, Inc. “(META I”)
until June 28, 2021, and became President and Chief Executive Officer of Meta Materials Inc.
(formerly known as Torchlight Energy Resources, Inc.) on June 28, 2021 after the combination of
the two companies.

2. I was the President and Chief Executive Officer of Meta Materials Inc. (““(META
IT”) trading on the Nasdaq under symbol MMAT from June 28, 2021 until October 10, 2023, as

well as a Board Director until December 4, 2023.
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3. On December 14, 2020, Torchlight Energy Resources, Inc. (“Torchlight Energy”),
an oil and gas exploration company trading on the NASDAQ under the symbol TRCH and META
I, a developer of high-performance functional materials and nanocomposite products trading on
the CSE in Canada under symbol MMAT.CN, signed a definitive agreement negotiated at arm’s
length for a business combination of Torchlight and META I by way of a statutory plan of
arrangement (the “Merger”).!

4. On June 28, 2021, META I combined with Torchlight Energy, and Torchlight
Energy was renamed to Meta Materials Inc. (“META II” or the “Company”) and started to trade
on the Nasdaq under the symbol MMAT.?

5. Prior to the closing of the Merger transaction, on June 14, 2021, Torchlight Energy
declared a Special Dividend of Series A Preferred Stock (the “Dividend” or “Series A Shares”) to
be issued on a one-for-one basis to Common Stockholders of Record as of the close of market
trading on June 24, 2021 to Torchlight Energy shareholders that held shares prior to the merger.?

6. On June 25, 2021, Torchlight Energy announced that it distributed the Dividend to
its shareholders of record on June 24, 2021.4

7. The Dividend shares were never intended or authorized to be listed or traded on
any exchange, and were created merely to be a dividend placeholder representing the assets of

Torchlight Energy that the Company would continue to own as a part of the merger.*

1 See https://metamaterial.com/metamaterial-and-torchlight-sign-definitive-agreement-for-business-combination/
(last accessed August 15, 2024).
2 See https://metamaterial.com/meta-closes-transaction-and-commences-trading-on-nasdaq/ (last accessed August 15,

2024).
3 See SEC filings, ie. Torchlight Energy Resources, Inc., Series A Preferred Shares Certificate of Designation (Form
8-K EX-3.2) (June 14, 2021), available at

https://www.sec.gov/Archives/edgar/data/143 1959/00011998352 100038 l/ex3-2.htm.

4 See https://finance.yahoo.com/news/torchlight-announces-payment-special-series-203500696.htm! (last accessed
August 15, 2024).

5 See SEC Filings, ie. Torchlight Energy Resources, Inc. (Schedule 14A) (May 10, 2021), at 50, available at
https://www.sec.gov/Archives/edgar/data/143 1959/0001 193 12521154788/d117540ddefm14a.htm.

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8. On September 30, 2021, pursuant to the closing of the merger with Torchlight
Energy, the Company reclassified Torchlight Energy’s oil and gas assets as “held for sale” and
hired a consultant to help determine the best path to maximize value for Dividend shareholders.
The Company informed investors about the ongoing drilling obligations in the Orogrande Project
in 2021 to hold the lease for sale or spinout.®

9. On December 3, 2021, the Company announced their intent to spinout or dispose
of Torchlight Energy’s oil and gas assets in early Q1 2022, pending process approvals by all parties
involved.’

10. On January 14, 2022, the Company updated shareholders*® that it was moving
forward in the spinout process of Torchlight Energy’s oil and gas assets. This work included, but
was not limited to, formal transfer of the assets to OilCo Holdings, Inc. (““OilCo”), a newly formed
wholly owned subsidiary of META II, as well as making any necessary filings with the U.S.
Securities and Exchange Commission and initiating discussions with FINRA.

11. On August 31, 2021, OilCo Holdings, Inc. was incorporated in Nevada as a wholly
owned subsidiary of META II, and changed its name to Next Bridge Hydrocarbons, Inc. (“Next
Bridge’) pursuant to an Amended and Restated Articles of Incorporation filed on June 30, 2022.

12. On July 15,2022, META II announced that its new, wholly owned subsidiary, Next
Bridge, filed a Form S-1 registration statement with the U.S. Securities and Exchange Commission

relating to the registration of Next Bridge’s common stock. The proposed registration of Next

8 See https://metamaterial.com/meta-commences-drilling-operations-in-orogrande-project-to-maintain-lease-
compliance/ (last accessed August 15, 2024).

’ See https://metamaterial.com/meta-provides-update-on-the-special-series-a-preferred-stock-dividend/ (last
accessed August 15, 2024).

8 See https://metamaterial.com/meta-provides-update-on-the-special-series-a-preferred-stock-dividend-2/ (last
accessed August 15, 2024).

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Bridge’s common stock was pursued in connection with a planned share exchange to Dividend
shareholders.

13. On November 18, 2022, Next Bridge’s Form S-1 became effective. Pursuant to
Next Bridge’s Form S-1, holders of the Series A Preferred Dividend Shares would receive a 1-for-
1 share exchange at a future date where one Series A Preferred Dividend Share would be
exchanged for one share of Next Bridge common stock.?

14. On October 6, 2021, Mr. Greg West, a Senior Corporate Actions Analyst at the
Financial Industry Regulatory Authority (“FINRA”) sent a basic “for your information” email to
META II at investors@metamaterial.com which included a letter attachment from FINRA
notifying the Company that they have assigned the ticker symbol MMTLP to the Series A Shares
(the “MMTLP Shares”) and the MMTLP Shares may be quoted and traded on the Over-The-
Counter Market (“OTC Market”).

ome 15. On October 7, 2021, META II’s management responded to FINRA’s letter via
email and strenuously objected to the assignment of this new symbol in light of the false and
misleading information regarding it and Meta Materials Inc. that was published on the OTC
Market’s website. We further requested that FINRA provide the Company with the contact
information of the individual(s) or group(s) that requested the assignment of the symbol, and
requested that the profile information shown on the OTC Markets site be immediately deleted and
corrected to reflect the readily available information for META II which was contained in our

Form 10-Q filing for the quarter that has ended June 30, 2021. The Company’s financial

® See https://metamaterial.com/meta-materials-inc-board-of-directors-approves-planned-completion-of-the-spin-off-
of-next-bridge-hydrocarbons-inc/ (last accessed August 15, 2024). See also
https://www.sec.gov/Archives/edgar/data/1936756/0001 193 12522238430/d302576dex21.htm (last accessed August
15, 2024).

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information provided to FINRA by the unidentified broker(s) seeking a listing exemption was
incorrect and outdated, containing publicly available Company information from 2012.

16. On October 7, 2021, the MMTLP shares began trading on the OTC Market without
the authorization of the Company. FINRA did not send its notice to the Company until less than
24 hours before the MMTLP Shares began trading on the OTC Market.

17. FINRA did not halt the trading of MMTLP even after META II’s management
communicated to Mr. West that the listing included false and outdated information. META II
management indicated that the Company did not request for FINRA to assign a ticker symbol to
the Series A Shares because the Series A Shares were intended by the Company to be a placeholder
dividend representing the assets of Torchlight Energy prior to the asset sale or spin-out.

18. On October 8, 2021, Mr. West responded to META II’s management letter stating
he would be escalating the matter to his superiors.

19. Subsequently, on October 14, 2021, in response to META II’s complaint, FINRA’s
Vice President of Market Operations for FINRA’s Market Transparency Services, Ms. Patricia
Casimates, left a voicemail for Mr. Ken Rice, META II’s Chief Financial Officer, and emailed
him asking Mr. Rice to call her regarding the Company’s MMTLP complaint.

ar 20. On or about October 14, 2021, Mr. Rice had a phone call with Ms. Casimates
regarding META II’s MMTLP complaint. During the call, Mr. Rice reported to me that FINRA
refused to provide the identity of the broker(s) or individual(s) that applied for the exemption. Mr.
Rice reported to me that FINRA or the related broker(s) or individual(s) who applied for the
exemption would not edit, delete or modify the false and outdated Company information that was

listed on the OTC Market’s website.

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21. Despite the Company actively attempting to communicate its concerns to FINRA
regarding the improper quoting and trading of the MMTLP Shares, the MMTLP Shares remained
actively listed and trading on the OTC Market until December 9, 2022. During shareholder
updates, Company management warned shareholders regarding this matter.

22. On November 18, 2022, Next Bridge filed a prospectus!® onto the Securities and
Exchange Commission’s Electronic Data Gathering, Analysis and Retrieval System informing the
public of the summary of the Next Bridge asset spin-off and share exchange.

23. In the prospectus, Next Bridge noted “at the time of the Spin-Off, Meta will
distribute 165,472,241 of the outstanding shares of Common Stock held by it on a pro rata basis
to holders of Meta’s Series A Non-Voting Preferred Stock and contemporaneously cancel any
remaining shares of Common Stock it holds.” The prospectus further stated “each one share of
Meta’s Series A Non-Voting Preferred Stock outstanding as of close of business, New York City
time, on December 12, 2022, the record date for the Spin-Off (the “Record Date’’), will entitle the
holder thereof to receive one share of [Next Bridge] Common Stock.”!!

24. In conjunction with the prospectus, on November 23, 2022, META II published a
press release indicating that, “on December 14, 2022 after the close of the trading markets, ... all
of the shares of Series A Preferred Stock will be automatically canceled.” !?

25. On November 22, 2022, I received email communication from Mr. Lance Cook,

the designated representative for Dividend shareholders. Mr. Cook had been communicating with

many of the Series A Preferred shareholders, including the largest Dividend shareholder, Mr. Greg

10 See SEC filings, ie., Meta Materials, Inc., Prospectus (File No. 333-266143) (Nov. 18, 2022) (available at
https://www.sec.gov/Archives/edgar/data/1936756/000 L193 12522292 1 14/d302576d424b4 htm#toc302576 2), at 1.
'’ See SEC filings, i.e., Meta Materials, Inc., Prospectus (File No. 333-266 143) (Nov. 18, 2022) (available at
https://www.sec.gov/Archives/edgar/data/1936756/0001 19312522292 | 14/d302576d424b4 htm#toc302576 2).

12 See https://www.accesswire.com/728 166/meta-materials-inc-board-of-directors-approves-planned-completion-of-
the-spin-off-of-next-bridge-hydrocarbons-ine (last accessed July 31, 2024).

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McCabe. Mr. Cook discussed that despite the SEC’s approval of the S-1 registration statement and
FINRA’s notification with regard to the publication of a notice of corporate action (after FINRA
had received all information requested from the Company in due course to enable the delisting of
MMTLP and completion of the spin-out), there were concerns that there was no reason as to why
FINRA was delaying in the consent or objection of META II’s corporate action. Mr. Cook also
reported that a major issue with the delay of formalizing this spin-out was the inability of the Next
Bridge to be able to raise funds.

26. Subsequently, on the same day, November 22, 2022, I forwarded Mr. Lance Cook’s
email to the OTC Markets team, pleading for a timely response and expedited resolution. The
notice of corporate action, designated CAS-75631, was being reviewed by Mr. Luis Cantillo in
FINRA’s corporate action group who was in contact with the Company’s counsel. My
understanding is that we had provided him with all necessary supplemental information he had
requested.

27. On December 5, 2022, the Company’s counsel, together with Next Bridge’s
counsel drafted and sent a new email requesting escalation of its concerns to FINRA’s executive
team. This escalation reminded FINRA that through no actions taken by META II, the Company’s
Series A Preferred Stock began trading in 2021 and was still trading on the OTC Market under the
symbol MMTLP. The Company’s counsel stated that META II management had notified FINRA
of a corporate action (stock dividend) to be taken (FINRA Rule 6490) approximately 3 months
prior and, as of that date, we still did not have an answer regarding whether or not FINRA found
the request to be deficient. Counsel also noted to FINRA it had become extremely difficult for
META II to make plans and, more importantly, could and may be causing confusion in the OTC

market of MMTLP to the detriment of META II’s investors. Counsel further noted to FINRA that

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Next Bridge Hydrocarbons and Meta Materials would need to stand on their own and both
companies had responsibilities to their respective shareholders. Counsel further noted to FINRA
that any further delays would jeopardize the respective companies’ abilities to raise capital and to
maintain their respective standing in the marketplace which would be a detriment to all
shareholders.

28. Subsequently, on December 5, 2022, in response of the email sent to FINRA’s
executive team, Ms. Sarah Gill from Office of the Ombudsman responded via email to META II’s
counsel stating that FINRA’s President and Chief Executive Officer, Mr. Robert Cook, had
referred the matter to her and a call was scheduled for December 6, 2022 between META II’s
counsel and Ms. Gill. Following the call, Ms. Gill connected and introduced Ms. Millicent Banks
as the contact who leads FINRA’s corporate actions team.

29. From September 2022 to December 6, 2022, the Company had submitted the
various required documentation and payment to FINRA for the publication of a notice of corporate
action announcing the 1-for-1 Series A Preferred share exchange to FINRA’s Daily List.

30. | On December 7, 2022, FINRA published a notice that it has processed META II’s
corporate action and published it onto its Daily List, which stated that “MMTLP shareholders with
settled positions as of 12/12/22 Record Date will receive one (1) share of Next Bridge
Hydrocarbons, Inc. for every one (1) share of MMTLP held on Pay Date of 12/14/22. Purchases
of MMTLP executed after 12/8/22 will not receive the distribution. Will not be quoted Ex. [NO
EX-DIVIDEND DATE] MMTLP shares will be canceled effective 12/13/22.'? This language was

provided to META II by FINRA’s corporate action team.

13 See https://metamaterial.com/meta-materials-announces-finra-has-processed-corporate-action-for-exchange-of-
series-a-preferred/ (last accessed August 15, 2024).

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31. Further, on or about December 8, 2022, FINRA notified the Company that it had
unilaterally revised the language of the Company’s December 6, 2022 corporate action and
required the revised notice to be published on the Daily List. This revision was made without the
input or authorization of the Company and took place on or about December 7, 2022, after FINRA
had a call discussion with DTCC. I was informed that META II and Next Bridge’s counsel were
not invited to participate in the call between FINRA and DTCC.'4

32. To facilitate the successful execution of the MMTLP-Next Bridge share exchange,
on December 8, 2022, the revised notice of corporate action was published on FINRA’s Daily List,
changing the language used by META II in the original corporate action to read, “MMTLP will be
deleted effective 12/13/22.”

33. After the revised notice of corporate action was published to FINRA’s Daily List,
the Company announced via press release that “FINRA [had] revised [the Company’s] corporate
action for exchange of Series A Preferred.”

34. On December 9, 2022, FINRA announced it had enacted a U3 halt on the trading
of MMTLP Shares, claiming there was “significant uncertainty in the settlement and clearing
process” for the security.

35. Prior to the U3 halt, FINRA never stated in any communications to the Company
(or publicly) that they were going to halt the trading as of December 8, 2022. META II's counsel
reached out again on the Morning of December 9, 2022 to ask Ms. Gill whether the halt was
permanent or temporary. Only after the halt, FINRA added a note on their UPC Advisory page.

36. During my own inquiries for several weeks after the halt, as well as through counsel

including multiple calls with the Ms. Gill at the Office of the Ombudsman, we never received any

14 See https://metamaterial.com/meta-materials-announces-finra-has-revised-corporate-action-for-exchange-of-
series-a-preferred/ (last accessed August 15, 2024).

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answers for exactly what the “extraordinary event” or reasons were that FINRA relied on to enact
the halt.!° If FINRA had planned the halt all along, it is my opinion that they should have put such
information into the announcement in order to fully inform and protect shareholders and avoid

shareholder confusion.

37. On December 13, 2022, FINRA deleted the MMTLP ticker.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on August 15, 2024

Georgpos Palikaras

. Digitally signed
GeOrgiOS by Georgios

Palikaras

Palikaras Date:2024.08.15

19:56:27 -03'00'

15 See ECF 1-6 at 3.

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